    Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 1 of 103




                      	
                 EXHIBIT	22
	
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 2 of 103




                     Somerville Provisional 623
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 3 of 103




                     Somerville Provisional 624
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 4 of 103




                     Somerville Provisional 625
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 5 of 103




                     Somerville Provisional 626
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 6 of 103




                     Somerville Provisional 627
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 7 of 103




                     Somerville Provisional 628
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 8 of 103




                     Somerville Provisional 629
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 9 of 103




                     Somerville Provisional 630
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 10 of 103




                     Somerville Provisional 631
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 11 of 103




                     Somerville Provisional 632
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 12 of 103




                     Somerville Provisional 633
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 13 of 103




                     Somerville Provisional 634
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 14 of 103




                     Somerville Provisional 635
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 15 of 103




                     Somerville Provisional 636
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 16 of 103




                     Somerville Provisional 637
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 17 of 103




                     Somerville Provisional 638
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 18 of 103




                     Somerville Provisional 639
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 19 of 103




                     Somerville Provisional 640
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 20 of 103




                     Somerville Provisional 641
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 21 of 103




                     Somerville Provisional 642
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 22 of 103




                     Somerville Provisional 643
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 23 of 103




                     Somerville Provisional 644
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 24 of 103




                     Somerville Provisional 645
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 25 of 103




                     Somerville Provisional 646
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 26 of 103




                     Somerville Provisional 647
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 27 of 103




                     Somerville Provisional 648
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 28 of 103




                     Somerville Provisional 649
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 29 of 103




                     Somerville Provisional 650
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 30 of 103




                     Somerville Provisional 651
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 31 of 103




                     Somerville Provisional 652
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 32 of 103




                     Somerville Provisional 653
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 33 of 103




                     Somerville Provisional 654
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 34 of 103




                     Somerville Provisional 655
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 35 of 103




                     Somerville Provisional 656
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 36 of 103




                     Somerville Provisional 657
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 37 of 103




                     Somerville Provisional 658
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 38 of 103




                     Somerville Provisional 659
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 39 of 103




                     Somerville Provisional 660
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 40 of 103




                     Somerville Provisional 661
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 41 of 103




                     Somerville Provisional 662
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 42 of 103




                     Somerville Provisional 663
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 43 of 103




                     Somerville Provisional 664
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 44 of 103




                     Somerville Provisional 665
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 45 of 103




                     Somerville Provisional 666
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 46 of 103




                 	
                 	
            EXHIBIT	23	
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 47 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 48 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 49 of 103




                 	
                 	
            EXHIBIT	24	
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 50 of 103


                             THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS




Lead Plaintiff Michael McGrath, et al.,

               Plaintiffs
                                                       USDC Case No. 2017-CV-10979-FDS
      v.

City of Somerville,

               Defendant



                              AFFIDAVIT OF JACK CANZONERI


       The undersigned JACK CANZONERI being duly sworn hereby deposes and states as

follows:

       1.      I am counsel for Plaintiffs Michael McGrath, et al., in the above-captioned matter

and filed an appearance in this matter.

       2.      The Defendant City of Somerville produced an EXCEL spreadsheet marked

“SOMERVILLE_0074273_confidential.xlsx” during discovery in the above-captioned matter.

       3.      I prepared screen shots attached hereto as Exhibit 24A (James McNally payroll

information) and Exhibit 24B (Kevin Goulart payroll information). The screen shots as reflected

on Exhibits 24A and 24B are true and accurate depictions of the EXCEL spreadsheet at the rows

and cells that appear without modification of the original except as noted in paragraph 4.

       4.      In preparing the screen shots I added yellow highlighter to the cells referenced in

the Plaintiffs’ Local Rule 56.1 Statement of Material Facts (“SMF”). In addition, to provide a

concise representation of the spreadsheet data I used two EXCEL functions, as follows: (A)

Window Freeze function of EXCEL so that the name and payment category information to the

                                                1
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 51 of 103


left and the payroll date labels on the top header would constantly appear; (B) the column “hide”

function of EXCEL to remove columns from view that provided information that was not the

subject of the information presented in the SMF (i.e., columns B, C and D which provide

employee number, job class, and group, as well as columns that depicted payroll weeks that were

not discussed in the SMF).

SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 7th DAY OF
FEBRUARY, 2019:

                                             /s/Jack J. Canzoneri
                                             JACK CANZONERI




                                                2
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 52 of 103




              	
              	
         EXHIBIT	24A	
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 53 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 54 of 103




              	
              	
         EXHIBIT	24B	
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 55 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 56 of 103




                 	
                 	
            EXHIBIT	25	
                  Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 57 of 103

Message
From              Díane D'Angeli [/O=EXCHANG ELABS/OU=EXCHANGE ADM I N ISTRATIVE GROUP

                  (FYDtBOHF235PDLT)/CN=RECTPtENTS/CN=AD3EB5C5F5C84AF9A7238LLAF7284A79-DTANE       D'ANGI
Sent:             LL|T/20L6 4:59:47 PM
To:               SPD Sworn Al I   [spdswornall@police.somerville.ma.us]
Subject:          OT/CT Report
Attachments:      OT-CI 11-05-16.pdf


Good Afternoon All;

Attached   is   the overtime/court report for week ending November 5'h, check date Thursday, November 10th.

Also, just a reminder that this Thursday you will receive your holiday pay (live check) and weapons of mass destruction.


lf you have any questions please let me know.

Diane




                                                                                                     SOMERVILLE-0069557
                           Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 58 of 103
                                                                           OVERTIME/ COURT TIME




NEIV/II                                          IÊ¡EGIfI]GTJTã:úfÑTrc¡l                            æ:IIIilITEIã   clErstrcnn-æ
* F¿EASE             OVERTIME SLIÆ ARE
 OR   Õ.   T, SL'PS WFRE NO' RECEIVED IN TWE TO POST AN THE APPRAPHATE PAYRALL
AMERAL MICHAEL A                                  l0/31€
ANDERSON. PAUL
BECKFORD. PAUL
BERROUET, WOLFF E                                 11t14
BORK, CHRISTINE
 Rtoso, DouGt-As                                                                          10t314
BROWN, MICHAEL D
 ABRAL, MICHAEL S
;ANTY, PATRICK
;APASSO JR-. MICHAEL R.                                                                   10t314
)APOBIANCO- ALESSANDRO
CARRABINO. STEPHEN J
}ARROLL. MICHAEL
CATATAO. ASHLEY                                  $na
CHAILLE- WARREN A
 ;tcts](()Nts, t-tsRNANUO
CLARK. SHAUN
COL¡.AZO. ARIEL I
COLLETTE. CHRISTOPHER                                                                     1'lto24
COLLETTE. WALTER
COSTA. JASON
COSÍA, MARTIIA        F
COTTER. BERNARD
DEOLIVEIRA. DIOG'O
DESROCHERS. ROGER                                10t30-1.11/í3-1
DERVISHIAN. GEORGE
DIAZ, HENRY                                      10/30-1.10ßl-{
DIFAVA. MARC                                     10/3€
DIFROÍì¡ZO. DANTE
D¡GREGORIO, JEFFREY J.
DOÍìIOVAN, JAMES M
DOTNN, DERRICK
DOTNN. SHAIì¡NON N
DRISCOLL, ROBERT                                 l0130{
DUCASSE-AYAI-4. JUAN A                                                                    't0t244.10t314
DUFFY. PAUL C
ELPIDOFOROS,PATRICIA                             10t30-7
FALLON. DAMD
FARIA. MICHAEL
FUSCO. CHRISTOPHER                               10t?14
FUSCO JR,. SALVATORE F.
    ALBERT
G¡EE.
GILBER]]. RICHARD C
GOBIEL JOHN J
GONCALVES. CASSANDRA COSTA
GOULART. KEVIN
HALEY. DANIEL
HARTSGROVE. ROBERT                               10130s                                   10!3't4
HICKEY, ROBERTW
HOLLAND, MIChIAEL
HOWE. JOHN J.
I-IYDE, JAMES F
ISAACS. RANDYR.                                  40-3'14
tstDoRo. Rtco J
JEAN{ACQUES
JOHNSON, STEVEN                                  l0/30€
JONES, STEPHËN                                   {0/286
KENNELLY. MICHAEL
KHOURY, MATTHEW
KIELY, MICHAEL R                                 t0/304
KIM, ELI
LAVEY, RICHARD
LEGROS- GUERDY                                                                            latil4
 -EGUISAMON CALDERON, KILSARYS
 -ORENTI. ALEXANDER


                                                                                                                                  Con't.




                                                                                                                       SOMERVILLE 0069558
                     Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 59 of 103
                                                           OVERTIME/ COURT TIME




MACARELLI. JOSEPH
  ANFRA. MARYANNE
  ANZELLI" ANTHONY M
 IARINO. JOHN A
 ARRA MICHAEL
MARTINZ, OSWALDO
 IARÏNI. LEO D
MCCARFI. MICHAEL
MCDAID. KATHRYI\I M
MCGRATH, MICHAEL J
IIICNALLY. JAMES                                                          ,tot3.t4
MELO, CARLOS P
IUESSAOUDI, SAMIR                {0/30€
IUITSAKIS. TIMOTHY
IUONACO, ALAN                                                             11t14
MONTE, DAVID F
IUONINA€ARCIA. NATACHA
I\IOREIRÀ JOSEPH
MULCAHY. MICHAEL J
  ADILE. ERNESTJ JR              11t14
NARDONE. DOROTI{Y
   :VIN. MARK
O'BRIEN. ERIC
  -IVEIRA. JOHN L                10t6€. 10t11-4. 10t12{.   lgw   -T
     :ARA, ROSS D                10t314
'ASC¡UALINO.
                ROBERT           't1t24
       BRIAN                     10131€
'AVAO.
PERRONE. MICHAEL
          JAMES
'OLITO.
PROPHETE. FRANOIANE
     MAFIK
'ULIJ.
RADOCHIÀ JAMES
RAIUIREZ JOSE                    lUvA
REECE. COURTNEY
REGO. DANIEL                     10t274
REMIGIO, LOUIS M
RIVERA. JOSEPH
RUF. DAVID                                                                lat314
RYMILL. AWLLIAM JR
RYMILL, GERARD J
SCHNEIDER. DEVIN
SHACKELFORD, KEVIN                                                        11t14
SHEEHAN, SEA¡I¡
SINGH, GURPREET                  l0/30€                                   tot244
SLATTERY. JAIIIES F,. JR.
SOARES. EDUARDO
SOUSA, TYLER
ST HII-AIRE, STEVE Y             11t24
STANFORD, JAMES J
SULLIVAN. TIMOTHY
SYLVESTER- SEAN M.
TAM. JOHN A
TEVES. JOSEPI{
THERMIDOR. JONATHAN                                                       10t314,11t14
TORRES" JAII'ES
TRANT. PAUL R
 JBEDA. ERICK
VAN NOSTRAND. TIMOTHY            10-11{
WVOLO. CARMINE C                 10127-3.   10/31{.
WARD. CHRISTOFHER J
N'HALEN. SCOTT                   1',1t14
UI'YATT. MICHAEL J




                                                                                                  Con't.
                                                                      2




                                                                                         SOMERVILLE-0069559
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 60 of 103




                 	
                 	
            EXHIBIT	26	
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 61 of 103


                             THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS



Lead Plaintiff Michael McGrath, et al.,

               Plaintiffs
                                                        USDC Case No. 2017-CV-10979-FDS
      v.

City of Somerville,

               Defendant



                      AFFIDAVIT OF PLAINTIFF JAMES MCNALLY


       The undersigned JAMES MCNALLY being duly sworn hereby deposes and states as

follows:

       1.      I am over 18 years of age and believe in the obligation of an oath.

       2.      I have been employed as a patrol officer by the City of Somerville (“City”) in the

City’s Police Department since August 24, 1978.

       3.      In my position of patrol officer I have been assigned as a detective since at least

February 2017 and have held that assignment to present.

       4.      In my position as a detective from February 2017 to present, my regular schedule

of shifts has been a “5-2 schedule” (i.e., 5 days on, 2 days off). Pursuant to that 5-2 schedule I

have been scheduled regularly each week to work an 8-hour shift from 4:00 p.m. to midnight

each day from Tuesday through Saturday, and my regularly scheduled days off have been on

Sundays and Mondays.

       5.      The Somerville Police Employees Association (“Union”) is the union that has

represented patrol officers employed by the City in the Police Department since at least 2000,

and I have been a member of the Union in the collective bargaining unit represented by the
                                                 1
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 62 of 103


Union during that period. The Union and City have agreed to collective bargaining agreements

that provides terms and conditions of employment of patrol officers employed by the City in the

Police Department, including terms and conditions of employment relating to my position as a

patrol officer. Below I refer to compensation and hours that I worked in relation to specific

provisions of the collective bargaining agreement (“CBA”) that was in effect from at least May

2014 to present. Where I refer to “Contract overtime” below, and this refers to the provisions of

the CBA in effect in that period of time that provided for payment of a form of compensation

described by the CBA as “overtime.”

       6.      Though I work a 5-2 schedule, I am given extra days off to equalize my schedule

over a calendar year with another schedule pattern known as a 4-2 schedule (4 days off, 2 days

on); specifically, in a six-week period I am allocated 14-days off, which results in a total of 17

1/3 days off per year in addition to the regular two-days off that are part of 5-2 schedule, per the

CBA at Art. 8, §2. I am allocated those additional days off at the start of the year and take them

throughout the year, not necessarily in any week or 6-week period but as determined by me with

authorization and approval of my supervisor.

       7.      I worked and was compensated for hours worked in workweek Sunday October

22 to Saturday October 28, 2017, as follows:

               A.      My weekly compensation including one week of my annual salary, plus

Education Incentive (law enforcement/Quinn Bill) was $1,532.54, per CBA Article 19, § 1,

"Salaries" and Article 19, §5(b).

               B.      My shift differential that week, including my 7% night shift availability

differential per CBA Article 19, § 2(a), plus any applicable night shift and weekend differential

per CBA Article 19, § 2(b) and § 4 was $137.52; of this amount $107.28 was the 7% night shift

availability differential ($1532.54 x 7%), and $30.24 was the weekend/night shift differential

($137.52 minus $107.28).

                                                 2
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 63 of 103


               C.     Annual stipends paid to me by the City in calendar year 2017 totaled

$4175, including:

                      (1)     Senior Longevity, $3200, paid on Dec 1, 2017, per
                              CBA Article 19, § 3(a);

                      (2)     Weapons Proficiency Pay, $475, paid on Dec 1,
                              2017, per CBA Article 19, § 6; and,

                      (3)     Weapons of Mass Destruction, $500, paid on
                              November 10, 2017, per CBA Article 19, § 7.


               D.     In the workweek Sunday October 22 to Saturday October 28, 2017, I

worked 40 hours in my regularly assigned police shifts, in a 5-2 schedule. More specifically, due

to training and special circumstances in police operations during this workweek I was assigned to

the day shift on two of my five shifts (October 24 and 28), and I worked my regular shift hours

of 4:00 p.m. to midnight for the other three shifts this workweek (October 25, 26, 27)—a total of

40 hours of work on my five regular shifts that workweek.

               E.     In addition, in the workweek Sunday October 22 to Saturday October 28,

2017, I worked a total of 40 hours additional (i.e., over and above my regularly scheduled police

shifts), paid at the overtime rate specified in the CBA, 8-hours of Contract overtime for each

shift, including 8-hour shifts worked on October 22–23, 25, 27–28. On each of those shifts I

worked 8 hours. A true and accurate copy of my overtime slips for these five overtime shifts are

attached hereto as Exhibit 11D. (I understand Exhibit 11D, attached hereto, correlates with

Exhibit 11D otherwise submitted with the Plaintiffs’ motion for summary judgment.)

               F.     The total Contract overtime paid to me for the workweek Sunday October

22 to Saturday October 28, 2017 was $2459.73. Attached hereto as Exhibits 11E and 11F are

two weekly overtime reports. (I understand Exhibits 11E and 11F, attached hereto, correlate

with Exhibits 11E and 11F otherwise submitted with the Plaintiffs’ motion for summary



                                                3
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 64 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 65 of 103




                 	
                 	
            EXHIBIT	27	
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 66 of 103


                             THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS




Lead Plaintiff Michael McGrath, et al.,

               Plaintiffs
                                                       USDC Case No. 2017-CV-10979-FDS
      v.

City of Somerville,

               Defendant



                      AFFIDAVIT OF PLAINTIFF KEVIN GOULART


       The undersigned KEVIN GOULART being duly sworn hereby deposes and states as

follows:

       1.      I am over 18 years of age and believe in the obligation of an oath.

       2.      I have been employed as a patrol officer by the City of Somerville (“City”) in the

City’s Police Department since May 18, 2015.

       3.      In my position of patrol officer I have been assigned as a patrol officer in the

Patrol Division of the City’s Police Department since at least February 2017 and have held that

assignment to present.

       4.      In my position as a patrol officer in the Patrol Division of the Police Department

from February 2017 to about March 2018, my regular schedule of shifts was a “4-2 schedule,”

which refers to a recurring pattern of 4 days on duty and 2 days off duty. With respect to the 4

days that I am on duty, my regular shift from February 2017 to about March 2018 was from

Midnight to 8:00 a.m. (called “Last Half”); after I work that sequence of four Last Half shifts I

am then scheduled off for the next two days.

                                                 1
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 67 of 103


       5.      All patrol officers assigned to the Patrol Unit, including myself, are required as a

condition of employment to arrive 15 minutes early for their regularly assigned shift to attend

roll call where, among other things, cruiser assignments are finalized and the supervisor

discusses any law enforcement issues specific to that upcoming shift. Therefore, for the shifts

from 8:00 a.m. to 4:00 p.m. (referred to as “Days”), 4:00 p.m. to Midnight (referred to as “First

Half”), and Midnight to 8:00 a.m. (referred to as “Last Half”), patrol officers assigned to the

Patrol Division report for roll call at 7:45 a.m. for Days, 3:45 p.m. for First Half, and 11:45 p.m.

for Last Half. The duty to attend roll call 15 minutes prior to the start of the shift has been

applicable the entire period of my employment, including in the workweek discussed below in

June 2017.

       6.      The Somerville Police Employees Association (“Union”) is the union that has

represented patrol officers employed by the City in the Police Department since at least the start

of my employment in May 2015, and I have been a member of the Union in the collective

bargaining unit represented by the Union during that period. The Union and City have agreed to

collective bargaining agreements that provide terms and conditions of employment of patrol

officers employed by the City in the Police Department, including terms and conditions of

employment relating to my position as a patrol officer assigned to the Patrol Division. Below I

refer to compensation and hours that I worked in relation to specific provisions of the collective

bargaining agreement (“CBA”) that was in effect from at least May 2015 to present. Where I

refer to “Contract overtime” below, this refers to the provisions of the CBA in effect in that

period of time that provided for payment of a form of compensation described by the CBA as

“overtime.”

       7.      I am allocated 14-days off per 6-week period by virtue of the application of my 4-

2 schedule over the course of a year, and per the CBA at Art. 8, §2.


                                                  2
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 68 of 103


       8.       I worked and was compensated for hours worked in the workweek Sunday June

18 to Saturday June 24, 2017, as follows:

                A.     My weekly compensation including one week of my annual salary, plus

Education Incentive (law enforcement/Quinn Bill) was $1,191.03, per CBA Article 19, § 1,

"Salaries" and Article 19, §5(b). I do not receive law enforcement/Quinn Bill incentive, so the

above-noted weekly dollar amount relates solely to one week of my annual salary.

                B.     My shift differential that week, including my 7% night shift availability

differential per CBA Article 19, § 2(a), plus any applicable night shift and weekend differential

per CBA Article 19, § 2(b) and § 4 was $206.60; of this amount $83.37 was the 7% night shift

availability differential ($1191.03 x 7%), and $123.23 was the weekend/night shift differential

($206.60 minus $83.37).

                C.     Annual stipends paid to me by the City in calendar year 2017 totaled

$1,100, including:

                       (1)     Weapons Proficiency Pay, $600, paid on Dec 1,
                               2017, per CBA Article 19, § 6; and,

                       (2)     Weapons of Mass Destruction, $500, paid on
                               November 10, 2017, per CBA Article 19, § 7.

                D.     In the workweek Sunday June 18–24, 2017 I worked 40 hours in my

regularly assigned police shifts, in a 4-2 schedule, plus an additional 15 minutes for roll call for

each of my 5 shifts worked that week, for a total of 41.25 hours. More specifically, I took no

time off and worked all five of my regularly scheduled shifts and reported to roll call 15 minutes

prior to each shift as required. The specifics of my regularly scheduled shifts that workweek are

as follows:

   ! Sunday June 18, 2017: I worked my regularly assigned Last Half shift (Midnight to 8:00

       a.m.).


                                                  3
      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 69 of 103


   ! Monday June 19, 2017: I was scheduled to work a Last Half shift. However I swapped

       shifts with another officer. Pursuant to that swap I worked a First Half shift (4:00 p.m. to

       Midnight shift) on Saturday June 24, referenced below.

   ! Tuesday June 22, 2017: I worked my regularly assigned Last Half shift (Midnight to

       8:00 a.m.)

   ! Friday June 23, 2017: I worked my regularly assigned Last Half shift (Midnight to 8:00

       a.m.)

   ! Saturday June 24, 2017: I worked my regularly assigned Last Half shift (Midnight to

       8:00 a.m. regularly scheduled shift. I then returned to work to the First Half (4:00 p.m. to

       Midnight) to cover the shift-swap referenced above, in place of my regularly scheduled

       shift on Monday June 19.

               E.     In addition, in the workweek Sunday June 18–24, 2017, I worked three

overtime shifts for a total of 22 additional hours (i.e., over and above my regularly scheduled

police shifts), paid at the overtime rate specified in the CBA. A true and accurate copy of my

overtime slips for these three overtime shifts are attached hereto as Exhibit 14D. (I understand

Exhibit 14D, attached hereto, correlates with Exhibit 14D otherwise submitted with the

Plaintiffs’ motion for summary judgment.) The specific day and duration of the shifts (as shown

on the overtime slips that I submitted) include: an 8-hour shift from 8:00 a.m. to 4:00 p.m. and a

6-hour shift from 4:00 p.m. to about 10:00 p.m. on June 20, 2017; and an 8-hour shift on June

21, 2017 from 8:00 a.m. to 4:00 p.m.

               F.     The total Contract overtime paid to me for the workweek Sunday June 18–

24, 2017 was $1,051.38, and it was paid to me in my paycheck issued on Friday June 30, 2018 as

shown on the weekly overtime report attached hereto as Exhibit 14E. (I understand Exhibit 14E,

attached hereto, correlate with Exhibit 14E otherwise submitted with the Plaintiffs’ motion for


                                                4
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 70 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 71 of 103




                 	
                 	
            EXHIBIT	28	
          Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 72 of 103


                                                                                      tgIs"L,


lþlodule: Human Resnr¡rces,/Payroll
Topic: Ernployee Setup
Fay Code Master                                                               MunËs Versian   l"t


#bjertåve
This document provides step-by-step instructions on how to build a Pay Code in Munis. Only the
Payroll, Human Resource or Finance Departments should have access to this menu option in Munis to
avoid any Pay Codes being built with an incorrect taxation, calculation or General Ledger Account.


üven¿l*w
A Pay Code is required in order to generate a paycheck for any employee. lf you are beginning a new
implementation, you will want to plan your Pay Codes in an order that will make sense to you and your
other payroll users. Always try to keep like Pay Codes together - for instance, keep retirement exempt
codes in a range that will make it easier to flag them as exempt. Once you have your broad categories
separated, you may wish to separate the Pay Codes within those ranges so you know that a certain
range is used only for a certain Union. For example, if you will be using range 700 - 899 for Stipends,
you may wish to have 700 - 729 be used for Police, 730 - 7 49 for Fire, etc.

All employees can share certain Pay Codes such as the Absence/Accrual Pay Codes so there is no
need to be too specific. The only difference between Vacation codes is usually whether it is tracked in
Hours or Days.

As you plan your Pay Codes, it is best to look ahead. Plan the reports you will need through the course
of the year as well as at end of year. lf those reports are not available by Account Number or from
another MUNIS program, you may need a Pay Code to track usage.


Frerequisltes
Before you begin entering Pay Codes into Munis, you will want to be sure you have the following items
ready:
    o    Security clearance to add Pay Type Codes
    .    Chart of Accounts - technically not a prerequisite but will make employee entry much easier if
         there is a default Object code for Longevity or Org/Object for Snow OT
    .    Union contracts are very helpful because they contain the specialty pays for each union
         including the Longevity Tables.




.s- rTrHrsri$
                                                                                          Page   1




                                                                                         SOMERVILLE 0068855
               Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 73 of 103


                                                tods
                                                                             *$   tE[e{.,
þ{ow    to     ßuàåd a Pay




Pnocedune
Use the following steps to access the Pay Master:
   1. Open Pay Master
           Human Resources/Payroll> Payrcll> Payroll Setup > Pay Master




                               Mertu

   iì.sli,f;   r¡,:l:i¡¡ ::'rü{¡"ri':, r::,r:'idr';.fi ilqi.I.xl



     v Mü¡¡is
       } F¡n*Büüh
         Y       HüÍfi.an Reson¡rcesFat'rsli

                >     |lårrnan Res$Jrs+s

                v     Payrsll

                     >     P€yroH.Adrflrirr¡sfefi6{Ì

                     r.    FãlrrsH Sshrp

                           > lrÌË$rs€ Tå{ Ss8ip
                           l     Tisne ËrÉrï:Sdup

                                 Fe¡rofl tonbol Seüiægr

                                 l#i¡cc$aylcø¡*            tsde*
                                 FËY *¡,ãsi8r

                                 ÐÈd&cûßn aqË SenÊ$l               liltd8r
                                 Åcqfi¡elTúlec

                                 ,!oà8laae          Êd¡sÉPr




.-å{-
        n$Mnt$
                                                                             Page 2



                                                                             SOMERVILLE 0068856
                    Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 74 of 103


 Ë'fiçw       to ßuild a Pay frsde                                                                                                                        T:i." tyEËï,

                    trffiû
 ffi                                                                                   Pay Þ'Íaster - fvluni* ITRAINIruG ÛÅTASASË,                           Mar 7 ã013]




 Pãy st+rt Ð?iÊ                   End Þêt€              Short   Ðæ   Lorg B€*:iption
                             'f:
                              ,r il            i'i.:'
                                               11,

                                         ègln¡ç¡s,

 Ió?-ä   Ðode                                                                              FLSA/CT

 Trx t'lÊthod                                                                              Projcct A{count

 Unitc                                                                                     gtleûir- 8rg

 €ãf€gory                                                                         ,;il     ioefzuÌr object

 Calc Code                                                                        1,;j.1   iDefauti oaysiYr

 RãicJ'Arsflst                                                                                                ;*:       Add lo Êasc

 Fõrtor                                                                                                       ,.- I Subtæct from ßase
                                                                                                                    Vt,rify Äccrual Balarce
 ComF      factar                                                                                             'i:
                                                                                                              :ll : gacumber aemôininç Pðy
 Erl¡ Råte                                                                                                    :lil: Srasenai wagæ
 Refemr cE                                                                                                    :.-: Ge¡ËFte Labor
                                                                                                               _"'.:
                                                                                                                     nours Enlry
 Escrow
                                                                                                              .-.: Fr¡ngc ûì¡ Bîck
                                                                                                                              F.

 Eitrr    Sen'                                                                                                .--; ¡nrlud€ iF PAF File
                         GradÊ BñEd L¡ngev¡ty                                                                 .
                                                                                                                  i-:   LJ,* fo¡ 855 Time   Eniñ
 Lrngs;ty                                                                                                         -:   lnlluoe tn Pæflon    Flt    cö]c
                                                                                                                  'il:
                                                                                                                       Sccondany Cfirclt
                                                                                                              :   --; IñJ+rkÊr's CoEpenrõbcn




          2       On the MUNIS toolbar, click Add                       ffi
          3       Enter the following for the fields in order to add a Pay Code
Field
                                         lDescriotion
Pay                                     lThis box stores a 3 digit user-def¡ned pay type code. Codes are linked to
                                                                           job/salary records. Munis does not enforce a
                                        lemployees to create employee
                                        lpredefined  number   sequence.    Pay codes should be grouped into categories.
StarVEnd Dates                           These boxes define the date range for the pay type code. Th¡s is designed to
                                         accommodate seasonal wages. lf the pay type is not bound by start and end dates
                                         then accept the default values (01/01/1900 to 12l31/9999).
                                         Note: The system compares the payroll period start date and end date to this date
                                         range to determine if the pay type is applied. lf the pay type date range is outside
                                         the current payroll period starVend date range, then all Employee JoblSalary pay
                                         records with this pay type are excluded from the current payroll.
Short Desc                              Itnis is a short description for the pay type code.
                                        lThe description can include up to 10 text characters.
Long Desc                               lThis is a long description for the pay type code.
                                        lThe description can include up to 30 text characters.
Abbreviation                            lThis is the code description abbreviation to use on reports and checks. The
                                        labbreviation can include up to six text characters.


  .-$Ë-
                fi"[$ffi[s
                                                                                                                                                           Page 3



                                                                                                                                                          SOMERVILLE 0068857
             Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 75 of 103


 !'{cw to Euild a       tode                                                                  3:å*   tï{er.'

V12 Code                ïhis list identifies the Form W-2 code to classify this type of earnings for W2
                        reporting. To verity the codes, refer to federal and state documentation for the law
                        as it pertains to reporting income and deductions for specific box codes.
Tax Method              ïhis list indicates the tax rate or method for the pay type code. You can select Tax
                        Table, Supplemental,2-,3-, or 4-Month Lump Sum. Most pay codes use the Tax
                        ïable option in order to include an employee's exemption selection. The
                        Supplemental tax rate is a flat percentage that never includes exceptions. The 2-,
                        3-, and 4-Month Lump Sum Payments include exemptions in the calculation but
                        exclude an employee's number of pays.
Units                   Ihis list indicates an optional unit of measure to use with this pay type code.
                        Options are Days, Hours, Amount, or blank.
Category                This list determines the pay type category code. The category groups pay type
                        codes and is used in Employee Job/Salary program calculations.

                               a   1 - Base Pay: Base pay or primary pay records. All employees must
                                   have a category 1-Base Pay, and if possible, they should only have one
                                   base pay per job class. This enables the linking of absence pay codes
                                   (category 3) and overtime codes (category 2) to the same base pay rate,
                                   keeping rates in balance at all times. lf the base rate increases, the other
                                   rates automatically increase.

                               a   3-Absence/Accrual: Accrual pay

                               a   Category 5-Non-cash, E-Non-cash (No Gross), and F-Fringe Pay:
                                   Noncash fringe payments. The differences are specific to taxability and
                                   whether or not the dollar value appears in the employee's gross pay.

                               a   S-Non-cash: Personal use of vehicle, life insurance over $50,000.00, and
                                   so on; affects the way the pay type code is processed as follows: . The
                                   pay type is subject to taxes by default; an exceptions record must be
                                   created to exclude the pay type deductions, if required. . The pay type is
                                   not added to net pay.

                               a   Category E -Non-cash (no gross): Not added into gross wages and does
                                   not appear on paychecks. lts primary function is to help post certain
                                   deductions to the proper accounts. For accruals, which have a category
                                   code of SAbsence/Accruals, you must select an additional compensation
                                   calculation code of 90 in the Calc Code list.

                               a   Categories 4-Additional Compensation and 6-Misc/Other Pay: Stipends.

                               a   Category 7: Dock pay

                               a   Category 8: Pending FLSA: FLSA calculation payouts.

                                   Category 9: Holdback repayments.

                               a   Category A-Hours Based and B-Period Amount: Calculations based on
  ..$å-
          flr&Ë.tf1ts
                                                                                                Page 4



                                                                                               SOMERVILLE 0068858
            Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 76 of 103


 l"{ow   to Build a   tode
                                                                                           *i$*   tll*{",
                               hours or period pay. For example, you can link a shíft differential to the
                               base pay by using Category A so that the employees receives the
                               differential for every hour worked.

                           a   Category C-Period Amount (base overtime only), D-Per AmVHours
                               Blended Rate (base overtime only), G-AmUHours Blended Rate (includes
                               overtime), and J-AmVHours Blended Rate (includes overtime at base
                               rate): Special overtime calculations. This typically incorporates multiple
                               base rates fiobs) to calculate a blended overtime rate. Category J is
                               similar to Category G, except that once the sum of hours and amounts
                               are totaled for the specified pays. Category J then adds the pay hours to
                               the hours sum and the pay amount (based upon the hours times the
                               base pay rate) to the amount sum. The sum amount is then divided by
                               the sum hours to create a new rate. This rate is then multiplied times the
                               factor for the final rate for the pay. The new pay amount is then
                               calculated from the pay hours times the rate.

                               Category L - Per AmVHours Blended Rate (full PR): Works as category
                               D-Per AmounUHours Blended Rate (base overtime only) except that
                               Category L does not consider overtime pay dates. Category L always
                               includes the full amounts of all specified pays for the employee. Category
                               M-AmUHours Blended Rate (Deduction Rate + Base Rate: Defines pay
                               types that are to be calculated as the blended overtime (OT) rate plus the
                               base rate. This category is similar to Category J pays; however, for
                               Category M, the base rate is added to the blended overtime rate after the
                               blended overtime rate is calculated.


                      Note: For category codes A, B, C, D, F, and G, click the   iÉi    button to open the
                      Assign Pay Types screen, where        you can assign additional pay type codes
Calc Code             This list identifies the calculation code for additional compensation. See Calculation
                      Codes for a list of codes and descriptions.
                      Note: For calculation code 93 or 94, click the lÆ Ortton to open the Assign Pay
                      Types screen, where you can assign additional pay type codes.
Rate/Amount           This is a flat amount or percentage for the pay type code. Use this rate or amount
                      when the rate or amount is the same for all employees for whom you use this pay
                      type code.
Factor                This is the multiplication factor for this pay type, which is related to the dollar
                      amount that is attached to the pay type in the employee pay records. lf dollar
                      amounts are tracked with accrual usage, that is, the employee has both number of
                      hours and a pay amount for the accrual pay, the value of this box should be 1.0. lf
                      only hours are tracked with accrual usage, the value of this box should be 0. With a
                      factor of 0, the pay amount is always 0.
                      The default value is 1.0, but you can change this (for example, base pay = 1.0,
                      overtime pay = 1.5, or double-time pay=2). lf your organization uses stipends (calc
                      code 73), this factor may be used to set the maximum amount of stipend that an
                      employee may receive.
                      You can enter a negative value in this box. lf you enter a negative amount, the
                      Time Entry program produces a negative pay amount.
Bill Rate             This is the rate if this pay type is billed to a third party

  ..#-   rT$$r'!Ës
                                                                                             Page 5



                                                                                            SOMERVILLE 0068859
            Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 77 of 103

                                                                                              *#*   ty-åpr-*
 l-{çw   to Euild a Pay tode
Reference               This box contains a user-defined reference code that can be used to identify like
                        pay type codes. For example, enter PD in this box to identify pay codes that are
                        associated with the police department.
                        The code can contain up to eight characters.
Escrow
                        This list identifies the escrow pay category code. Click the i'Ë-.*i ¡rtton to open the
                        Escrow Pay/Categories program, where you can vieMmaintain the escrow
                        category codes.
Extra Serv              ïhis list allows you to identify a pay type as an extra service pay. When an extra
                        service job class code is used, the employee's job class code is overwritten. You
                        can change a default value.
Grade Based             ïhis check box, if selected, directs the program to build a longevity table that links
Longevity               to the salary tables. This enables longevity payments to increase with the grades
                        and steps of the salary tables.
Longevity               This list determines the longevity/experience table to use if additional
                        compensation is based on longevity/experience. The longevity/experience table
                        defines the amount of the additional compensation for length of service or
                        experience. lt can be set to apply an amount or percentage and ovenides the
                        amount in the Rate/Amount box. You can establish a Longevity/Experience table
                        prior to creating a pay type code by clicking the Longevity button to open the
                        Lqng evity Codes program, or as you are adding pay type codes by clicking the
                        i      button to open Longevity Codes program.
FLSA/OT                 This list indicates whether to include the hours for this pay type against the FLSA
                        limit. For example, select No for vacation pay to exclude it from the weekly or
                        monthly hours in the FLSA calculation type.
                        For more information on overtime calculations, refer to the Overtime Reference
                        Guide.
Project Account         This box identifies the default project account associated with the pay type. This
                        box is only accessible if your organization uses Munis Project Accounting.
Default Account         ïhe default general ledger account to which all expenses associated with this pay
                        $pe are distributed. lf your organization uses the Full Account entry method, the
                        Default Account box is available; if your organization uses the Org entry method,
                        the Default Org box is available.
                        lf you complete a default org or account, the value overwrites the default included
                        in the Employee Master program.
Default Object          ïhe optional default expense object code associated with this pay type
Default DaysA/r         ïhis box defines a default number of days per year for calculation code 61. When
                        you add a calculation code 61 pay to the Employee Job/Salary program, this
                        amount is used in the DaysA/ear box.
    to Base             This check box, if selected, directs the program to add this pay to base pay. This
                        pertains to additional compensation earnings like longevity pay or shift differential.
                        lf the additional compensation is paid to the employee as a one-time payment, the
                        check box should be cleared. lf the check box is selected, the additional
                        compensation is distributed over the course of the year. Additional compensation
                        that is added to base pay must have the same general ledger account as the base
                        pay record, and additional compensation pay must be added to the overtime
                        calculation.
                        lf this check box is selected, calculation codes 70,71,72, 8A, and 81 are available
                        for use.
Subtract from Base      This check box if selected, directs the program to subtract hours entered in Payroll

  "$-    ffirË."çsT¡$
                                                                                               Page 6



                                                                                              SOMERVILLE 0068860
            Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 78 of 103


 l'{ow to ffiuitd a   tode
                                                                                        gi*   ty.[pg.",
                    Earnings and Deductions or Time Entry from base pay hours.
                    For sick, vacation, and personal pay type codes, the check box is typically selected.
                    Job class codes must be in use for this feature to be used because the proper base
                    pay type is linked to the employee through the job class code.
Verify Accrual      This check box, if selected, directs the program to validate the employee's
Balance             available accrual balance when hours are entered towards this pay type in the
                    Payroll Earnings and Deductions or Time Entry programs. lf selected, the system
                    issues a warning if the accrual (vacation/sick) balance associated with the pay type
                    is exceeded. lf the pay type is not directly related to an accrual type, clear the
                    check box.
Encumber Remaining This check box, if selected, directs the program to encumber remaining pay for this
Pay                 pay type.
                    The default value depends on the selection in of the Encumbrance Default label for
                    the GL Posting category in the Payroll Control Settings program. lf the value is P-
                    Pay Type, then the check box is selected. lf either N-None or G-GL Account, then
                    the check box is cleared.
SeasonalWages       This check box, if selected, identifies this pay type for seasonalwages
Generate Labor      This check box, if selected, indicates that the pay type should generate an activity
                    cost labor record. The Generate Labor check box in the Job Class Master program
                    must also be selected.
Hours Entry         This check box, if selected, indicates that the pay should be entered in hours in the
                    Time Entry program. lf so, when you are entering the pay in Time Entry, a window
                    opens where you can enter the beginning and ending work times.
Fringe Pay Dock     Select this check box if you selected Dock Pay in the Category list, and you want
                    the docked hours/days subtracted from the total number of working hours/days
                    used in the fringe pay calculations (those pay type codes where Fringe Pay is
                    selected in the Category list).
lnclude in PAF File lf selected, this check box directs the program to include this pay in the Personnel
                    Actions PAF XML file.
                    ïhis check box only applies to pays that are not base pays.
Use for ESS Time    This check box, if selected, indicates that this pay type should be used in employee
Entry               self-service (ESS) time entry processes.
lnclude in Position This check box, if selected, indicates that this pay type is included for FTE
FTE Calc            calculations in Position Control budgeting. This check box is only accessible for
                    category code 1 pay types.

 Secondary Check        This check box, if selected, causes the Generate Earnings and Deductions
                        process to move identified pays into a secondary check when pays are moved to
                        a payrollthrough Time Entry.
 Worke/s              ïhis check box, if selected, indicates that the pay is worker's compensation pay.
 Compensation         ïhis check box must be selected for the pay type that represents the actual
                      worke/s compensation pay as it identifies the pay to subtract from the
                      supplemental pay to get the supplemental portion. Using calc code 65 and pay type
                      N, programs calculate the supplementalworker's compensation pay to pay out at
                      least what the employee was making prior to worker's compensation for up to 180
                      days from the time workeds compensation starts. The starting point for the
                      supplemental pay is the difference between the workeds compensation pay and
                      80% of the total gross of pays assigned to the supplemental pay.




 '-#-   ffiråxgTIs
                                                                                         Page 7



                                                                                         SOMERVILLE_0068861
                      Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 79 of 103

                                                                                                                                                                             *#* tYåË,
 þlcw te ffiuild a Pay                              tode                                                                                                                                                                                 ",




                       ffi#g
ffi                                                                                                   Fãy ltläsÈër - f4unis ITRÂ,IruIruG DATASASE tvìär T 2û1




 ftðy         Start Ðâte                Efid PðtÊ                 Shclt   ttË5c           Long   Dcsriptiotr              Àbbr
i            ii                 i.ii

                  Pãyrfteëk1ÊyEles



                                  :" : Pri*! Hogæ llJorkad
    Print Pag
    R6[i up Põys
                                                                                                                                  ii:



    i"'i O¡de 1                        :.::.:   or'cie   I            .:.:;   cycle   r
    i-'i CyAa Z                        i;'l cyc¡r        z            ,- ¡ Cycie      Z                                           ii:

    :"i LfgeJ                          l;lc,¡c¡e s
            c.yAe s
    '.i:i
    :;:     cy¿e s
                                                                                                                                                                                  :::::::::   ::   ::::::::i:i::i::t:::            ;::
                                                                                                                                  i.:..::.:..,.:::..::r:    .. .         :
                                                                                                                                                                                                                           ::: :


                                                                                                                                                                                  ::]::::: l:i::i::f        :r:::,   r   i:!;:!ll::
                                                                                                                                  l:: :,,:i:,: .:r::,.:r.:i.::     :: : ::   ::   i:ii:ti::ttt:l
                                                                                                                                                                                  ::   :i: ,:i:,1:: :: ltr:lt:                     ::l




PaycheeklCycles

Field                                                        Action or Description
Print Hours Worked                                           Select to print hours worked on the check stub for this Pay Type. Usually
                                                             check for Hourly employees, OT, absences and differentials. Leave unchecked
                                                             for Salaried employees and stipends.
Print Pay                                                    Determines whether the Rate, Salary, or Description will print on the check stub
                                                             when checks are printed from the program "Payroll checks". lf Rate is entered,
                                                             the hourly rate prints; if Salary is entered the period salary prints; if Description
                                                             is entered, the information from the "Abbreü'field from screen one prints on the
                                                             check stub. These are the MUNIS defaults. Using WLERFORMS X-format
                                                             can vary the print combinat¡ons.
Roll Up Pays                                                  lndicates the print option for rolling up redundant pay types according to jobs or
                                                             job classes. This list is not available if the value of the Print Pay list is R-Rate.
                                                              lf the value of Print Pay list is R-Rate, the value for this list is N-Don't Roll Up
                                                             pays and you cannot change this.




    ..$-           rTrË.IsTls
                                                                                                                                                                                  Page                                   I

                                                                                                                                                                              SOMERVILLE-0068862
                     Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 80 of 103


                                                                                                                       '*S*."   tg$*q,,
 þ{cw      tc ffiuiåd a Pay tode
Cycles                                        These fields establish cyclical wages. For example, if a pay type should only
                                              be applied to the first week of the month, but not the second, third, fourth, or
                                              fifth, the entry would be:
                                                          12345
                                                        m tNl tNl tNl              tNl
                                              This information defaults to the Employee Job Pay record. The Payroll Process
                                              Generate program prompts for the pay cycle prior to generating pay and
                                              deductions. ln the example above, if a payroll is processed for the second week
                                              of the month, all Employee Job Pay records with this pay type will be excluded.

                     {ûffi $
 ffi                                                                          Pay M:aster - Munis ITRAIû,ëING DP,T,SßAS* f4ar 7 2Ë13.ji




 PRT   ì4*se -   ¡¡i¡¿ìs



  PÊy     StÐrt ÐåtÊ            EnC   Ð¿te           Short Ðsc   Loog fl€q.'dPt;on              À&l¡r


                                 Ïon'act   Atrüal!
 i,Hi9'l, L,F."yqç"hr€vrþr.j
                               ¡npðrt




lmpacÉ Accruals

Accrual                                    This list identifies the Accrual lmpact Code, which determines how one
                                           hour/dayiweek of this pay type affects the employee's accrual balance.
lmpact                                     ïhe impact values determine how one hour/daylweek of this pay type affects the
                                           employee accrual balance. Only one impact value is allowed for a pay type. The
                                           available impact values are as follows:
                                               .    No lmpact
                                               .    Add
                                               .    Subtract & Add
                                               .    Subtract Only
                                               .    Comp Time Earned
                                           For each accrual, select the impact value from the list.

                                           Examples:
                                               .  lf you accrue each payroll (Accrual Method 1-For Base Earnings Types),
                                                  select Add for vacation, sick, and/or other accruals if these accrual balances
                                                  should be added to for each base hour worked. The factor used in the
                                                  computation is entered in the Accruals Tables.
                                           The overtime earnings type usually does not add to accrual balances, so select No
  ..s-      rTrËJF"¡i$
                                                                                                                        Page 9



                                                                                                                       SOMERVILLE-o068863
          Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 81 of 103

                                                                                                                       ttli-- tvËer
                                                                                                                               d' ,:: ,..
þ{*w to Build a Pay Sode                                                                                                 üo                 ',.



                                lmpact for each accrual type. When Overtime pay is processed, it will therefore not
                                affect Vacation, Sick, and other balances.
                                For the vacation pay type, you could select Subtract & Add beside the vacation
                                accrual so that when vacation pay is processed it subtracts automatically from the
                                vacation balance and adds to it (adding at the employee rate, but subtracting on an
                                hour-for-hour basis).
                                      r lf accrual amounts are figured monthly or annually (Accrual Method 10),
                                        rather than hourly, and vary by group code or length of service, use the
                                        accrualtables located within Accruals Tables to set up the rates at which
                                        this benefit time is accrued.
                                         .
                                        lf you accrue comp time for an accrual, select Comp Time Earned for the
                                        pay type that is set up to collect comp time. Only one Comp Time Earned
                                        impact value is allowed for a given pay type.



   4.    By the time you complete the impact accruals screen, you should receive the "records added"
         message at the bottom of your menu. As you add more Pay Types, you will not need to go
         through each tab and you can simply click OtVAc""pt ..Wì once all required fields are complete.
   5.    Once a Pay Type Code has been added, you have the ability to copy that Pay Code by
         selecting the Copy Pay function on the Action Menu. Munis will ask what the new Pay Code
         number is and as long as it has not beert previously used, Munis will create an exact duplicate
         Pay     Code. Remember to click Update                           i.l..H.;   on the MUNIS toolbar to change the newly created
         Pay Code's descriptions and any other fields that need changing.
   6.     Longevity/ Experience Tables can be established prior to creating the Pay Type Code by using
         the Longevity Action menu option or can be created while you are creating the Pay Type by
         clicking the yellow folder to the right of the selection list.
                 &*E                                           Longevity Codes - l4unis ITRAINII\JG DATA8ASË ÞT¿r 7 Z9L3'j




    Loftgavíty TÐble ltlüDber
    O€*tipltos


    ÃmounÍPlrc€nè T.lpã
                                .'i: Ai:€k   RËEãk   ðf P¿tE


    F.om fû           Ãmt/Pct    LiB¡t




.'#-   Ëì"år,ts'sË$
                                                                                                                       Page 10



                                                                                                                        SOMERVILLE 0068864
                Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 82 of 103


 l"{ow      to ffiuild a Pay Code                                                                Efu tyËeç.,

        7     On the MUNIS toolbar, click Add ,'#ì.
        I     Complete the following fields as outlined below.
Field                            Desc¡'iption

Effective Date                   ïhis box contains the longevity code effective date for a grade-based longevity
                                 pay type The effective date/grade combination must exist in the Salary Tables
                        program.
Longevity Table Number This box identifies the user-defined longevity table number. The numeric code can
                        contain up to four digits. The program does not allow you to add tables with a
                        code that has a preceding zero (for example, 01,02,03, and so on).
Grade                   This box contains the longevity code for a grade-based longevity pay type. The
                        effective date/grade combination must exist in the Salary Tables program.
Description             This box contains the description for the longevity table. The description can
                        contain up to 20 characters.
Amount or Percent Based This list determines whether the compensation is a flat amount or a percentage
                        of the salary.
AmounVPercent Type      This list determines whether the compensation is based on an amount (annual,
                        period pay, or hourly rate) or a percent.
Allow Recalc of Pays    This check box, if selected, indicates that pay types in the longevity table can
                        be recalculated. Clear the check box if the longevity table is only recalculated
                        through the longevity report.
Service ftfiorÉhs

FromÆo                           These boxes define the range of service months required before an employee
                                 receives longevi$ pay. You can enter up to ten separate numeric ranges by
                                 months of service. Each range's From month automatically increases by one from
                                 the previous range's To month. For example, to enter six months to 24 months,
                                 type:
                                 From 06 To 24.1n this example, the next range, if entered, would start
                                 automatically at 25.
                                 This box identifies the compensation amount or percent to apply during the
                                 range of months. Enter the full amount to be paid out during that range of
                                 months. The amount is divided equally into the paychecks that are issued
                                 during that range. When you enter a percentage, it is applied as a percent of
                                 the total salary and is divided equally into the paychecks that are issued during
                                 that range.
Limit                            This box contains the annual longevity amount limit for the identified service
                                 level.
                                 When you complete this box, the longevity pay amount does not exceed this
                                 limit.

        L     Cl¡cr iffi. to save the record.




  t-$¡-
            n*Ë.49"år$
   s"
                                                                                                 Page   11




                                                                                                  SOMERVILLE 0068865
           Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 83 of 103

                                                                                        *$* tïl-*r{",
   to Bui[d
l"{ow                a   tode
Resuåts
You have successfully created a Pay Code and Longevity Table

$tatus Change
There is no status change as a result of this action.


Gl- lmpact
The general ledger is not affected by this action


Othen Munis Modules lrnpact
There is no impact on other Munis modules by this action,


Illlhat's Next?
Once a Pay Code is built:
    ¡ Validate calculation on one employee for accuracy
    ¡    Add Pay Code to all employees it pertains to
    .    Add Pay Code as a default in Types screen of Job Class or Position Control record.




 ..f"   fråË.tgTËs
                                                                                        Page 12



                                                                                        SOMERVILLE-0068866
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 84 of 103




                 	
                 	
            EXHIBIT	29	
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 85 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 86 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 87 of 103
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 88 of 103




                 	
                 	
            EXHIBIT	30	
                Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 89 of 103


From              Thompson Grants [editor@onl ine.thompson.com]                                                                       EXHIBIT NO.   9L
Sent:             6/26/20L4 8:47:04 PM
To:               William Roche lwilliam roche]                                                                                                     o
Subject:          Three Serious Risks Facing Public-Sector Employees                                       -   What You Need to Do!


                                                            lf you have trouble viewing this email, read the online version.




           *Tåþd {r*
           -"+
             ,i*. Þ
             JÈ
                      tÇ,*      T.þ'f       üf\4 F$*N
                                 i iri ;'U it     Ìol   ¡\-1 ïr:i$.+        T,   ì'r   *'   t ,iil i: l¡
                                 **rrrp{ia*cÊ " &:$${.}T"ûtr{e' $üc{*$$

           Dear HR Professional,

           There are three critical areas of FLSA risks for public-sector
           employers that you must keep your eye on in the coming months
           Act now, and you'll likely stay off the hot seat
                                                            - and avoid the
           federal investigations and costly lawsuits thât may await other
           employers.

                1.      One critical "working time" issue involves pre- and post-
                        shift activities, like changing into and out of work clothes
                        before and after a shift. Once safely considered non-
                        compensable, legal experts now see this territory as a
                        looming liability risk that you should watch closely.
                2.      Comp time is another volâtile issue that has many public-
                        sector HR managers squirming. For example, do you have
                        to grant employees comp time on the spec¡fic days they
                        request? The U.S. Department of Labor says no, but two
                        federal appeals courts say yes. What should you do?
                3.      Also, watch out for the 207(k) exemption for police and
                        firefighters     which has seen a great deal of litigation
                                              -
                        during recent years. For example, do paramedics / EMS
                        workers qualify for this exemption? lf so, what constitutes a
                        'Work period" for purposes of this exemption?


           The time to prepare is now with the best intelligence available
           the authoritative, award-winning Thompson's HR Compliance
                                                                                                                      -
           Expert I Fair Labor Standards for Public Emplovers is now
           available. This online resource provides up-to-the-minute cost-
           effective guidance, expert analysis of federal regulations and other
           rulings, court decisions and more, for organizations in the public
           sector. This resource will help you avoid penalties and stay in
           compliance.

           When you subscribe, you will receive:

                         lnstant Updates       Our top-of-the-line content is updated
                                                      -
                         instantly to reflect late-breaking news and developing
                         issues.
                         Daily News       Thompsonb HR Compliance Expeft Daily
                         ^-a.    'iI¡a
                                             -
                                         ^.,^t^É^'^
                                                           ..,:+L   k-^^l-i^¡           Ia..ala¡sa^+¡           ^¡   UD
                                                                                                                                      SoMERVtLLE_0072581
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 90 of 103




   .   .",...,..,..';.,l-..............;...   ..1."..1-"..   '   .   .




                                                                         SOMERVILLE_0O72583
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 91 of 103




                 	
                 	
            EXHIBIT	31	
                             Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 92 of 103


From:                                  HR Daily Advisor [HRDailyAdvisor@e.nl.blr-news.com]                                                                          EXHIBIT    NO..,¿
Sent:                                  9/1"/201.6 2:16:02 PM
To:                                    William Roche lwroche@somervillema.gov]
Subject:                               Don't Get Hamstrung by the Law: A Legal Look at    FLSA   Exemptions, September t,2OL6


                                                              lf you are unableto see the message below   click here to view.




      tåffiil;þ                                     sEts*ÎE å #TENfiHER
                                                                 ,ú'hsr¡ftÉj$ç
                           t+ql Feù{iîdì¡rí{rr
                                                    FOR JI.¡$T $ {* l$r
                                                                    tl fu ñ¡{sr{fie$
I ivltqalè:\t   ttf   ::t; t.J:.i'.r   ti,.ilj::l




ffiffi üä il v A#vis$r
 Pr"æ*timnl|                               þ{um*rç ft***urn*s Tipa N*wç & Ad;vi**" {Jp#æf*#                                                      #æ#
                                                                                                                                                                  Itffiffi
    ïodafs                    l-lR Daily Advisor Tip:

    Don't Get Hamstrung hy the Lavv: A Legaå
    Look at FL$A Exemptions
    By Holly Jones, JD, Senior Legal Editor
                                                                                                                                                       mf    r'mlF               :




    Topic: FL$A,ilñ/ages
                                                                                                                            . Wålitepap€r: B,reak
    Yesterday we looked at expert Kara Shears advice eonceming FLSA exemptions and                                            through the biggest                                :



                                                                                                                              barriers to leaming and
                                                                                                                                                                                 :

    audits. Today we'll take a look at what she has to say about legal considerations on this
    matter.                                                                                                                   development
                                                                                                                                A succesefuI leaming and
                                                                                                                                developrnerit plan ht,lps ernployees
                                                                                                                                cArerconÞ barders to learning, and
                                                                                                                                eaeures fhe plan is Et slainable. Bul
                                                                                                                                how d¡o yüiu oËëatt and exe:g¡te'euch
                                                                                                                                a plarì wh:ile ensuring business
                                                                                                                                succees?'Dorvnload this whitepaper to
                                                                                                                                find sut.

                                                                                                                                        fsssffisffiÍsqffi
                                                                                                                                        i&ïli\:{!;
                                                                                                                                              IÉ-. itTl!: $. Ti !fr rïL!rl'I
                                                                                                                                        in,ì      É+llt.{'1.1¡Hs      n+å;i




                                                                                                                                           Feat¡r€d Froduct




                                                                                                                                                       SOMERVILLE-0072758
          Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 93 of 103


Putting the Attorney Hat Back 0n

Now, with all of this fantastic practical advice in
your back pocket, there are a few /egal caveats to
keep in mind. lf we're going to embark upon a truly
informed risk assessment, we have to keep these
principles in mind.

Willfr¡l violations.

First, note that the Fair Labor Standards Act
(FLSA) does assess additional damages if it finds
"willful violations." Employees who lost overtime
wages as a result of a willfulviolation are entitled
to cornpensatory damages of 3 years' of back
wages (rather than 2) and may also be entitled to
liquidated damages (typically this will double the
back wages paid).
                                                                                                   New Overtime
So, you can't simply go into your workplace,
                                                                                                   Re gulations : Classifyin g
classify everyone as exempt, then dare the                                                         Exempt and Nonexêmpt
Department of Labor (DOL) to come get you. ïhis                                                    Employees Under the
is not a good strategy.                                                                            FLSA
Similarly, if your attorney tells you, "l have                                                     Ready for new overtime regulations?
absolutely no doubt-this employee is flipping                                                      Check outthis great report and
hamburgers and there is no way she is exempt,"                                                     diacover everything you need to know.
your failure to reclassiff that employee is going to
be a willful violation if you are sued or audited.                                                 Lesrn Moæ Now
You can't claim you acted in good faith if you
deliberately ignored the advice of your attorney.

Good faith.

As with most employment laws, we sawy,
sophisticated employers really can't argue, "Well, I
didn't know that was the lavy'' and expect an
under-compensated employee to walk away empty-handed. Fortunately, the FLSA does
provide a bit of relief to employers to help balance the subjective nature of the
exemptions. lf an employer can show good faith and reasonable grounds for its actions-
in this case, its classification of an employee as exempt- damages may be limited only
to the backwages and attorneys' fees (29 U.S.C. 5260).

So, just as acting willfully will subject you to more risk, if you (and your attorney) can build
a strong case of good faith and reasonable compliance with the spirit of the law, you may
be able to timit the risk to a couple years' worth of back wages you would have paid
anyway (plus attorneys' fees). This is where feeling "pretty sure" may still be good
enough.




Are you ready for the new overtime regulations? Read this great report entitled, New
Oveftime Regulations: Classifying Exempt and Nonexempt Employees Under the FLSA
Learn More



tsottom Line

Shea said it best when she noted, "Sometimes risk is acceptable if it helps your business




                                                                                                                   SOMERVILLE-0072759
             Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 94 of 103

thrive."

While considering the coming regulations, don't immediately assume that your only option
is spending thousands of dollars on billable hours and duties audits, meanwhile frustrating
previously exempt workers with timekeeping requirements and strict prohibitions against
checking e-mail during off hours.

lnstead


   r       Take a practical, business-minded approach to your classifications.
   .       Keep the aud¡t process internal as much and as long as possible. Find the known
           exempVnonexempt workers and get them in order first.
   ¡       Don't mistakenly rely on job descriptions alone-especially if those descriptions
           aren't quite accurate. Actual duties matter.
   ¡       ldentify "grey area" classifications, then recruit legal assistance with those as
           needed.
   ¡       When assessing risk, consider supplemental data such as turnover, number of
           employees in the same role, hours of overtime an employee is ìikely to work, back
           wage estimates, etc.
   ¡       Don't forget "hidden" costs that may arise w¡th reclassification-loss of morale, lost
           productivity, interruption of business continuity, and efficiency by limiting employee
           availability, changes to benefits eligibility, etc.


Are you ready to revise your employee classifications to comply? The final regulations are
out-what are your next steps? What are your policy and practice opt¡ons?

It's time to get your organization in compliance with the new overtime classification rules
from the Labor Department, effective December 1,2016. Start with this great report called
 New Ove¡lime Regulations: Classifying Exempt and Nonexempt Employees Under the
FLSA.

Learn More



How much do you have to do for the new overtime regulations? Learn more with this
great report, entitled New Overtime Regulations: Classifying Exempt and Nonexempt
Employees Underthe FLS,A. Learn More



For a plain-English review of employer obligations-and how to meet them---{rder BLR's
new comprehensive report, New Overtime Regulations: Classifying Exempt and
Nonexempt Employees Under the FLSA.

The report includes:                                                                                fhæ PndE**t    fsr
   o       Answers to your FLSA compliance questions
                                                                                                    ffñ   Ptr$      *ls
   ¡       Detailed guidance to help you manage requirements                                          H
   o
   ¡
           Methods for keeping your costs under control during the transition                       ffipffiÊ
           How to commun¡cate with your affected employees about their new nonexempt
           status
   ¡       And much more!

Learn More

Share Your tomments




                                                                                                            SOMERVILLE 0072760
          Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 95 of 103



ffi it-.r        r.   ,.,,,,,',   ffi $hare Featr.¡r€d Product

                                      New Overtime Regulations: Classifying
                                      Exempt and Nonexernpt Employees
                                      Under the FLSA
                                      Ready for new overiime regulations? Check out this great
                                      report and discover everything you need to know.

                                      The report includes:
                                                                                                                                  Stay lnterviews: FIR's
                                        r    Answers to your FLSA compliance questions                                            $ecret Weapon for
                                        ¡    Detailed guidance to help you manage requirements
                                        ¡                                                                                         Strengtheni.ng Employee
                                             Methods for keeping your costs under control during
                                             the transition
                                                                                                                                  Engagernent ând
                                        ¡    How to commun¡cate with your affected employees                                      Retention Efforts
                                             about their new nonexempt status
                                        r    And much more!                                                                       Jain us on Sepûember       15 for a,n in-
                                                                                                                                  depth webinar on stay intervieurs, and
                                                                                                                                  find or¡t howto set up a programthat
                                      Learn lrlore Now
                                                                                                                                  will shore up your bottôm':line by
                                                                                                                                  enouring emploliee retention. Erin
                                                                                                                                  Pappo and Pamelâ Ziota, of Camdøn
                                                                                                                                  Consulting Gttoup,will share expert
                                                                                                                                  tipa for getling your etay interviat¡v
                                      b$l'ri*epæp*r: Break tlrrough the biggest                                                   program up and,nrnlting, what to
                                      barriers to learning and det¡elspment                                                       expect duri:ngthe,prceess, a:nd hsw !o
                                                                                                                                  best analyze a,nd use ihe reeutts
                                      A successful learning and development plarì,hefps                                           gleaned frorn the stay interviews
        t.lALTü[l$-
            5ü   Írtrt fi t
                                      ernployeee overcome barrre'r,g to lêâ,rning, and ensures'the
                                      plan is sustainable, BlJt how do you ôreate arìd'eNecute
                                      euoh a,p,lan while'ensuring businesa suceeos? Download
                                                                                                                                             6Eæ
                                      this whitepaper to ñnd out.


                                                             ilil';:.,:r rlil   li   i i,;f,.:. ;iìl:,ri iì.f'r: r:i;r




                                            Stay lnterviews: HR's Secret Weapon
                                            firr Stren gthenin g E:rnployee
                                            Engagemeilt and Retention Efforts
                                            Thursday, September 1'5, ?01'6
       iltErlçIirElnffiiì                   2:00 p rn. to, 3: 0Ð p:m Ëa,stêrn /'l'1 :00 a.rn. to                         12: Û0
                                            p,rn. Faeific




Even if your organization is not geeí:ng a lot of turn'over, tt's a good:id,ea,to'estabiish
reg,ular slay inlerviews,with employees and get thal valuab-le i*formation and'solid data to
support your HR initratives.

Jcin us on Septernber   1:5 for an in-depth w€binar on stay, intenriews, and fad out how to
set up a program that will shore up your bottomline by,ensuring emplcyee retentien, Erin




                                                                                                                                                    SOMERVILLE 0072761
             Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 96 of 103

Fappo and Pamela Zlsta, of ea,rnden ConsuJting,Group,will share expert tips for gettin:g
your stay interview program urp and r,snning, what to expeet during the'prooess, a,nd h,aw
to best analyze and use the results gleaned frornthe stay intervielvs.

You'll learn

     e    Why you should uoe stay iñterviews for employee retention and generd,l
          improv€ment
     r    Who should,peform $täy ifiterviêfiÊs
     e    .What types of queations to ask d:uring,stay intewiews
     r    l4ow of.te n you sho,uld conduct your slay interviews
     r    Who you should interview
     .    What to do lryitlt the intervrew data
     r    And much morel


                                                EEEGIEilEü.
CREDIT INFORMAfION:

Thia preg'r-ar.n hss been pre-approved for f honr. of gerrerel,reee,fitifiêâtion Êrêdiititôward
PHR and SPHR recertification. For rnore information about certification or reoeftifioation,
pl*ase visitthe HR Çertification lnsti{ute website at www.hrci,org.

Business & Legal Resourees (BLR) is r€ôog:n¡Eed by SHRM to offer Professional
Development Credits (FÞCs,) for the,$HRM,GP or $l'lRM-$CP. This program io valid for
1,0 FDCs,lurthe SHRM"CP sr SfJRM-$CP. For rnore infor,mation about cêrt¡ficåtion or
recertifieation, please vísit the SHRM Certif¡cation website at n¡ww.chtnr.orglcertificatlon




                                                                                ,q.d[;hvlvr¡: lL\




You received this email because you are subscriber to BLR HR Daily Advisor as: wroche@somervillema.gov. To ensure proper delivery please add
HR   DailyAdvisor@e.   nl.   blr-news.com to your address book.


To sign up for olher ner¡¡sletters, cancel del¡very, change delivery options or change your e-mail address, please go to our prefererìce rèrìler


lf you are interested in advêrtis¡ng in this ema¡l ne\¿iêletler or with   BlRß'-Business & Legal Resources, please email media@BlR.com

lf you have any questions, suggestions, or assistance, please contact        çr¡st*mer seryice:

BLRø'-Business & Legal Resources
l0O Winners Circle, Ste. 300
Brentwood.   fN 37A27




                                                                                                                                        SOMERVILLE-0072762
            Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 97 of 103

Phone: 800-727ö257
About BLRo--Susineae & Legal Reaourceg
BLR@ ¡s   the lêeding provider of employment, safety, and environmêntal compllance solutionÊ. BLR has been an adÕowledged authority in clvering state as
urell âÊ federal law for ovêr three decedes, and èmployen knowthat they can count on tsLRs industry-lead¡ng compliance and trâining êolutions to keêp them
out of legal ûouble, avoid fines, and save money. BLR ofiers solutions for bu8ineÊs ownee, exeoutives, employeeg, and managerc of HR, compensation,
safety, environnrerìtâ|, or trâining for all+Þed organization8 and industries. Simply put, anyone uorríed about howthe¡r local state agency or national DOL,
OSHA, and EPA legal requ¡rementê impact their organ¡zation can beneft from BLR. For more info¡mation, please visit urww.BLR,com or call 80G727-5257.




                                                                                                                                      SOMERVILLE-oO72763
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 98 of 103




                 	
                 	
            EXHIBIT	32	
                Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 99 of 103

M
From:               H   r Editor Ihr@insight.thompson.com]                                                                  EXHIBIT   NO.35
                    th7/201,4 9:34:37 PM
Sent:
To:                 William Roche [william roche]                                                                           /1
                                                                                                                                         (-
Subject             Three Serious Risks Facing Public-Sector Employees                       What You Need to Do!
                                                                                         -
                                                       lf you have trouble viewing this emaif , read the online version.




           rf
          T""il
           FT
                        TH*MPSüN
                                   : ; /r   : t il:x   ..r 1.. ìr   t   i !.r 1.. !.:i



                          tv*r,glix*t* " Åssurxnc* . $r¡tu*s*

          Dear HR Professional,

          There are three critical areas of FLSA risks for public-sector
          employers that you must keep your eye on in the coming months
          Act now, and you'll likely stay off the hot seat
                                                           - and avoid the
          federal investigations and costly lawsuits that may await other
          employers.

                1.      One critical "work¡ng time' issue involves pre- and post-
                        shift activities, like changing into and out of work clothes
                        before and after a shift. Once safely considered non-
                        compensable, legal experts now see this territory as a
                        looming liability risk that you should watch closely.
                2.      Comp time is another volatile issue that has many public-
                        sector HR managers squirming. For example, do you have
                        to grant employees comp time on the specific days they
                        request? The U.S. Department of Labor says no, but two
                        federal appeals courts say yes. What should you do?
                3.      Also, watch out for the 207(k) exemption for police and
                        firefighters     which has seen a great deal of litigation
                                      -
                        during recent years. For example, do paramedics / EMS
                        workers qualify for this exemption? lf so, what constitutes a
                        'Work period" for purposes of this exemption?


          The time to prepare is now with the best intelligence available
          the authoritative, award-winning Thompson's HR Compliance
                                                                                                     -
          Expert I Fair l*abor Standards for Public Emplovers is now
          available. This online resource provides up-to-the-minute cost-
          effective guidance, expert analysis of federal regulations and other
          rulings, court decisions and more, for organizations in the public
          sector. This resource will help you avoid penalties and stay in
          compliance.

          When you subscribe, you willreceive:

                a       lnstant Updates       Our top-of-the-line content is updated
                                           -
                        instantly to reflect late-breaking news and developing
                        issues.
                        Daily News    Thompson's HR Compliance Expeft Daily
                                       -
                        provides customers with breaking developments on HR
                        law, benefits and retirement plan regulation and
                                                                                                                           SOMERVILLE 0072578
                             Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 100 of 103




:ia:i::.;:..:ì.i:i::.ii:: ::.r i . :' .:i.: : I :'1,: :a1r:i,':li :i1;1jri :r¿rll..rl I lì;:.,i';.., ,l;




                                                                                                           SOMERVILLE   OO7258O
Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 101 of 103




                 	
                 	
            EXHIBIT	33	
             Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 102 of 103

                                                                                                                   EXHIBIT NO..Z4
From:           Hr Editor Ihr@insight.thompson.com]
Sent:
ïo:
                IOl2/20I4 8:08:40 PM
                William Roche lwilliam roche]
                                                                                                                         ,l   e
Subject:        (þ Serious Risks Facing Public-Sector Employees           What You Need to Do!
                                                                      -
                                        lf you have trouble viewing this email, read the online vêrsion.




        Dear HR Professional,

        There are three critical areas of FLSA risks for public-sector
        employers that you must keep your eye on ¡n the coming months.                                     F]W*frtf¡çl
        Act now, and you'll likely stay off the hot seat  and avoid the
                                                           -




                                                                                                                   SOMERVILLE 0A72594
                    Case 1:17-cv-10979-FDS Document 91-3 Filed 02/15/19 Page 103 of 103

                      Access to Casemaker@         a continually updated collection
                a

                      of legal resources including
                                                                -
                                                    federal and state statutes and
                      regulations.
                a     Access to our editors for answers to your questions.
                      And more!

         Subscr¡be todav

          Best Regards,

          Liza Casabona
          Editor
          FLSA Publications
         Thompson lnformation SeMces


                                                                                                                                                             Prio/rty Code: XFAIOSEo


                                         T'frcrn:rsçrr l¡':fr.¡rfilåtjilrì $r¡rvic$s.4$,,1$ [.âôl-Vli*$t l'ii6fr'^¡"dy.   fiuil* llüü " Seth$si¿], ]J!Li:ìúß14


Ut.$gir$criir,.;\ h*re. u) 2$1,1 îTr*:n¡;sÕn lnÍûtnì8ii.:in   $,Ìff   i,::,ì$.




                                                                                                                                                                    SOMERVILLE_0072596
